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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA

 v.                                         Case No. 1:21-cr-0509 (TSC)

 ANTONY VO,

                       Defendant.




MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF DEFENDANT’S
                 MOTION TO TRANSFER VENUE


Dated: June 29, 2022

                                           Respectfully submitted,

                                           A.J. KRAMER
                                           FEDERAL PUBLIC DEFENDER


                                           ______/s/__________________
                                           Maria N. Jacob
                                           Assistant Federal Public Defender
                                           D.C. Bar No. 1031486
                                           625 Indiana Ave. NW, Ste. 550

                                           Nandan Kenkeremath
                                           DC Bar No. 384732


                                              Counsel for Defendants




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          Both the Fifth and Sixth Amendments secure the right to trial by an impartial jury. Const.

amends. V, VI; see also Skilling v. United States, 561 U.S. 358, 378 (2010). The Sixth

Amendment guarantees an “impartial jury” only to the defendant, not to the government. The

presumption is innocence. The burden is with the prosecution and the standard is beyond a

reasonable doubt. Any indication that these burdens will not form the basis of the judicial

process, including from a jury is a violation of Mr. Vo’s Fifth and Sixth Amendment rights.

          The dramatic amount of pre-trial publicity and public statements has grown substantially

since this Court has ruled on similar change of venue motions. Moreover, as discussed further

below, the government has specifically pursued guilt by association and collective responsibility

theories as the basis for its prosecution of the same four charges that Mr. Vo faces.

          Below is an analysis, in part, under Skilling. However, no case prior to the January 6th

cases reflects the highly unusual circumstances of pre-trial publicity, partisanship, and the

repeated and emotionally charged statements, from so many sources over such an extended

period of time. The mode and nature of pre-trial publicity has changed substantially since

United States v. Haldeman, 559 F.2d 31 (D.C. Cir. 1976). Moreover, “[e]ach case must turn on

its special facts.” Marshall v. United States 360 U.S. 310, 312 (1959). In Marshall, the Court

looked at publicity during the trial but made important points about the supervisory role of the

courts:

          The trial judge has a large discretion in ruling on the issue of prejudice resulting from the
          reading by jurors of news articles concerning the trial. [citing Holt v. United States, 218
          U.S. 245 (1910)]. Generalizations beyond that statement are not profitable, because each
          case must turn on its special facts. We have here the exposure of jurors to information of
          a character which the trial judge ruled was so prejudicial it could not be directly offered
          as evidence. The prejudice to the defendant is almost certain to be as great when that

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       evidence reaches the jury through news accounts as when it is a part of the prosecution's
       evidence. Cf. Michelson v. United States, 335 U.S. 469, 475 [(1948) date added]. It may
       indeed be greater for it is then not tempered by protective procedures. Id. at 312 and 313.

The federal courts can, of course, establish more rigorous standards for their own governance

than those minimum guarantees of fairness imposed on the state courts by the Constitution. See,

e. g., Ristaino v. Ross, 424 U.S. 589, 597 nn. 9-10 (1976); Murphy v. Florida, 421 U.S. 794, 797-

798 (1975); id. at 804, (Burger, C. J., concurring); cf. United States v. Williams, 523 F.2d 1203,

1209 n. 11 (5th Cir. 1975).


       I. The Amount of Pre-Trial Publicity Imputing Collective Guilt and Providing
          Prejudicial Characterizations in the Instant Case Is Massive and Unprecedented

       The events of January 6, 2021, are among the most partisan legal, political and public

situations in America. Democrats and the media have repeatedly drilled numerous concepts

concerning January 6, 2021 into the conscious of the American public. As discussed below,

these concepts include repeated generalized allegations of 1) the violent mob; 2) white

supremacy; 3) terrorism; 4) insurrection; and 5) deaths purportedly connected to January 6, 2021.

This is beyond any distortion or pre-trial publicity of Watergate. These generalized themes

would be presumably barred at trial as being irrelevant, however, the presentation of these

narratives outside of the trial creates presumptions that will impermissibly invade the courtroom

nonetheless.

       A. The Impeachment and Impeachment Trial Had Substantial Coverage

       President Trump was impeached by the House of Representatives on January 13, 2021,

by a vote of 232 to 197 for incitement of insurrection. Ten House Republicans supported

impeachment. However, the vote was, otherwise, along partisan lines. President Trump was

acquitted in the Senate and tried in the Senate due to the events of January 6, 2021. The Senate

                                                 2
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acquitted President Trump on February 13, 2021, with 57 Senators voting for impeachment and

43 voting to acquit. All Democrats and the 2 Independents voted guilty. Among Republicans 43

voted not guilty and 7 voted guilty. The House impeachment and impeachment trial was, of

course, the subject of substantial news coverage.

        Among other items article i: incitement of insurrection states:

        Thus incited by President Trump, members of the crowd he had addressed, in an attempt
        to, among other objectives, interfere with the Joint Session's solemn constitutional duty to
        certify the results of the 2020 Presidential election, unlawfully breached and vandalized
        the Capitol, injured and killed law enforcement personnel, menaced Members of
        Congress, the Vice President, and Congressional personnel, and engaged in other violent,
        deadly, destructive, and seditious acts. 1
        B. Biden Statements at Important Recent Events

        Here are remarks given by our current President while signing an executive order on racial

equality:

        It’s just been weeks since all of America witnessed a group of thugs,
        insurrectionists, political extremists, and white supremacists violently attack the
        Capitol of our democracy. And so now — now is the time to act. It’s time to act
        because that’s what the faith and morality calls us to do. 2

        President Biden also made comments about January 6, 2021, at an event commemorating

the 10-year anniversary of the Martin Luther King Jr. memorial in Washington: 3


        The violent, deadly insurrection on the Capitol nine months ago, it was about white
        supremacy, in my opinion. 4



1
 https://www.govinfo.gov/content/pkg/CREC-2021-01-13/html/CREC-2021-01-13-pt1-
PgH165.htm
2 Remarks by President Biden at Signing of an Executive Order on Racial Equity, The White

House (2021), https://www.whitehouse.gov/briefing-room/speeches-
remarks/2021/01/26/remarks-by-president-biden-at-signing-of-an-executive-order-on-racial-
equity/.


                                                   3
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According to the same report, President Biden also mentioned the white supremacist rally in

Charlottesville, Virginia, in 2017, saying: “The through line is that hate never goes away.”


       President Biden also made inflammatory comments recently this year while addressing

the nation on January 6, 2022 from the National Statuary Hall:


       Well, here is the God’s truth about January 6th, 2021:
       Close your eyes. Go back to that day. What do you see? Rioters rampaging, waving for
       the first time inside this Capitol a Confederate flag that symbolized the cause to destroy
       America, to rip us apart.
       Even during the Civil War, that never, ever happened. But it happened here in 2021.
       What else do you see? A mob breaking windows, kicking in doors, breaching the
       Capitol. American flags on poles being used as weapons, as spears. Fire extinguishers
       being thrown at the heads of police officers.
       A crowd that professes their love for law enforcement assaulted those police officers,
       dragged them, sprayed them, stomped on them.
       Over 140 police officers were injured.
       We’ve all heard the police officers who were there that day testify to what
       happened. One officer called it, quote, a med- — “medieval” battle, and that he was
       more afraid that day than he was fighting the war in Iraq.

       They’ve repeatedly asked since that day: How dare anyone — anyone — diminish,
       belittle, or deny the hell they were put through?
       We saw it with our own eyes. Rioters menaced these halls, threatening the life of the
       Speaker of the House, literally erecting gallows to hang the Vice President of the United
       States of America…..

               This wasn’t a group of tourists. This was an armed insurrection.

               They weren’t looking to uphold the will of the people. They were looking to

               deny the will of the people…..

       Is that what you thought when you looked at the mob ransacking the Capitol, destroying
       property, literally defecating in the hallways, rifling through desks of senators and
       representatives, hunting down members of congress? Patriots? Not in my view.

       ……Those who stormed this Capitol and those who instigated and incited and those who
       called on them to do so held a dagger at the throat of America — at American
       democracy.




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       They didn’t come here out of patriotism or principle. They came here in rage — not in
       service of America, but rather in service of one man……

       Jill and I have mourned police officers in this Capitol Rotunda not once but twice in the
       wake of January 6th: once to honor Officer Brian Sicknick, who lost his life the day after
       the attack, and a second time to honor Officer Billy Evans, who lost his life defending
       this Capitol as well.

       C. Vice President Harris Interview Comparing January 6th to Pearl Harbor and 911

       The current Vice President of the United States has also contributed to the negative pre-

trial publicity in these cases. Below are excerpts from her interview with the media about

January 6, 2021:


           You are, of course, about to become the first woman of color to serve as vice president,
           and I'm wondering what went through your mind seeing racist symbols, Confederate
           flags, parading through the Senate hallways where you've spent the last four years?

           Well, I mean, it was the same thing that went through my mind when I saw
           Charlottesville. I mean, it's the same thing that went through my mind when I saw a
           picture of Emmett Till. Sadly, it is not the first time I have seen a demonstration like
           what you are describing in the history of our country. And and it is — it is a reminder
           that we still have a lot of work to do. 5

           'Certain dates echo throughout history, including dates that instantly remind all who
           have lived through them where they were and what they were doing, when our
           democracy came under assault,' Harris began. 'December 7, 1941, September 11, 2001
           and January 6, 2021.'

       D. The President of NAACP Claimed White Supremacy Invaded the Capitol on January
          6th




5 https://www.dailymail.co.uk/news/article-10375423/Kamala-Harris-compares-January-6-Pearl-

Harbor-9-11-criticizes-extremists.html


                                                5
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       Leaders of important civil rights organizations have also contributed to the generalization

of all January 6 defendants being “insurrectionists.” Derrick Johnson, President and CEO of the

NAACP penned an op-ed printed in USA today on January 6, 2022 claiming:


       White supremacy invaded our Capitol on Jan. 6. It continued to invade our lives through
       every television news and social media feed that replayed horrifying clips of
       insurrectionists flooding the halls of democracy. Now, white supremacy is brazenly re-
       invading our constitutional right to vote. 6

       E. Congressional Black Caucus Hearing Claiming White Supremacy


       On January 13, 2021 The Congressional Black Caucus held a virtual hearing on the

events of January 6, 2021 titled “U.S. Capitol Insurrection: White Supremacy on Display.” 7


The Chairwoman of the Congressional Black Caucus stated:


       Let us be clear. This was a domestic terror attach perpetrated by rioting mobs of white
       supremacists, armed, equipped in many skilled and police tactics who came to overturn
       an election in which their candidate Trump lost.

       F. Highly Prejudicial Public Testimony at the Select Committee Hearing

       Notably, the House Select Committee features Liz Cheney and Adam Kinzinger, two of

the Republicans that voted for impeachment. The Select Committee had a hearing July 27,

2021; June 9, 2022; June 13, 2022; June 16, 2022, June 21, 2022, and June 23, 2022, and June

29, 2022.




6 https://www.usatoday.com/story/opinion/2022/01/06/naacp-white-supremacy-

january-6/9092954002/
7
  https://www.c-span.org/video/?507965-1/congressional-black-caucus-hearing-us-capitol-attack


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         Claims of racism from the mob in various incidents were a significant part of the July 21,

2021, proceeding. 8 In the recent June 9, 2022 hearing of the Select Committee investigating the

events of January 6th, Chairman Bennie Thompson started his opening statement with the

following:


         I’m from a part of the country where people justify the actions of slavery, the Klu Klux
         Klan, and lynching. I’m reminded of that dark history as I hear voices today try and
         justify the actions of the insurrectionists on January 6th, 2021. 9

         Thus far, the Select Committee has been presenting one-sided testimony which has been

highly prejudicial for pending January 6 criminal cases. The prime-time broadcast has included

emotional and sensational material. This is the type of material that should be excluded in any

trial for Mr. Vo. For example, there are the statements from witness Capitol Police Officer

Caroline Edwards who said she saw officers with “blood all over their faces” and was “slipping

in people’s blood. 10”


         G. Senate Majority Leader Schumer Tying January 6th To Race Issues

         And I saw something that I had been told later never happened before, the Confederate
         flag flying in this dear Capitol. That's just one of many searing, grotesque images of that
         unimaginable, most un-American day….

         Just as the Big Lie inspired the attack of January 6th, the Big Lie continues like a disease
         across state legislatures throughout the country, where we’re seeing the most restrictive




8
  https://apnews.com/article/joe-biden-government-and-politics-riots-race-and-ethnicity-capitol-
siege-b3eb4a7f1a0d183c9db89a08c84a70cb
9
    https://www.npr.org/2022/06/10/1104156949/jan-6-committee-hearing-transcript
10
   https://www.nbcnews.com/video/capitol-police-officer-injured-in-jan-6-riot-says-she-was-
slipping-in-people-s-blood-141829189901
                                                   7
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         voter suppression efforts since Jim Crow. Since Jim Crow – in 21st century America,
         turning the clock way back. 11

         H. The Speaker of the House, Nancy Pelosi, Calls Out A Terrorist Mob

         “The violent domestic attack on Congress on January 6th was the worst assault on the
         Capitol since the War of 1812 and the worst domestic assault on American Democracy
         since the Civil War…..The Select Committee on the January 6th Insurrection will
         investigate and report upon the facts and causes of the terrorist mob attack on the United
         States Capitol on January 6, 2021.

         “With respect for the integrity of the investigation, with an insistence on the truth and
         with concern about statements made and actions taken by these Members, I must reject
         the recommendations of Representatives Banks and Jordan to the Select Committee…..

         “The unprecedented nature of January 6th demands this unprecedented decision. 12”

         II.      Local Politicians and Other Local Statements Have Greatly Contributed to
                  Prejudicial Publicity Imputing Collective Guilt and Providing Prejudicial
                  Characterizations

               A. The Local NFL Franchise Coach and Organization Stating Organization “Will
                  Not Tolerate Any Equivalency Between Those Who Demanded Justice in the
                  Wake of George Floyd’s Murder and the Actions of Those on January 6 Who
                  Sought to Topple the Government”

         On June 10, 2022, one day after the first nationally broadcast select committee hearing,

Ron Rivera, head coach for the Washington D.C. NFL franchise, Washington Commanders,

fined Defensive Coach Jack Del Rio $100,000 for comments related to the events of January 6,

2021. Mr. Del Rio stated earlier in the week that the events of January 6, 2021 was a “dustup”

and compared that day to “riots, looting, burning” during protests in the summer of 2020.




11
  https://www.democrats.senate.gov/news/press-releases/majority-leader-schumer-floor-
remarks-on-the-first-anniversary-of-the-january-6th-insurrection-of-the-us-capitol
12
     https://www.speaker.gov/newsroom/72121-2



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       Rivera said:


       “[Coach Del Rio’s] comments do not reflect the organization’s views and are extremely
       hurtful to our great community in the DMV. As we saw last night in the [Congressional]
       hearings, what happened on the Capitol on Jan. 6, 2021, was an act of domestic terrorism.
       A group of citizens attempted to overturn the results of a free and fair election, and as a
       result, lives were lost and the Capitol building was damaged. Coach Del Rio did
       apologize for comments on Wednesday and he understands the distinctions between the
       events of that dark day and peaceful protests which are a hallmark of our democracy. He
       does have the right to voice his opinion as a citizen of the United States and it most
       certainly is his constitutional right to do so. However, words have consequences and his
       words hurt a lot of people in our community. I want to make clear that our organization
       will not tolerate any equivalency between those who demanded justice in the wake of
       George Floyd’s murder and the actions of those on January 6 who sought to topple our
       government. 13” (emphasis added)

            B. The Lawsuit by the District of Columbia

       The District of Columbia filed a lawsuit against Proud Boys International and Oath

keepers “for conspiring to terrorize the District” in connection with the January 6 events at the

Capitol. See District of Columbia v Proud Boys International, L.L.C. et. al. (Case No. 1:21-cv-

03267). The Amended Complaint includes individuals and a category called John and Jane Does

1-50. The District expressly excludes from John and Jane Does 1-50 any citizens of the District.

DC Attorney General Karl Racine, who announced the civil lawsuit outside the House entrance,

said the District seeks to impose severe financial penalties on those who caused the District to

“deploy unprecedented resources to repel and defeat an attack on our country’s capital. 14”

            C. Statements of DC Mayor Muriel Bowser




13 https://www.si.com/nfl/2022/06/10/commanders-announce-fine-jack-del-rio-ron-rivera-

january-6-comments

14 https://rollcall.com/2021/12/14/d-c-files-lawsuit-against-two-groups-for-costs-of-jan-6-

response/
                                                 9
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       At the Congressional Black Caucus hearing of January 13, 2021, Muriel Bowser, Mayor

of the District of Columbia stated:


       Thank you for holding this hearing on the acts of domestic terrorism and sedition that
       unfolded in our Nation’s Capitol just one week ago…..I’m calling on the Joint Terrorism
       Task Force to investigate, arrest and prosecute any individual who entered the capitol,
       destroyed property, or incited the acts of domestic terrorism last week. I urge the Congress
       to create a non-partisan commission to understand the catastrophic security failures and
       both to hold people accountable and ensure that it never happens again. It is not lost on
       me, as we heard in president’s comments who stoked the flames of this extremism and on
       January 6th encouraged the acts of terrorism and sedition that we saw, that resulted in the
       deaths of two United States Capitol Police Officers and Four Others. As you have heard
       today, the members of the Congressional Black Caucus know better than most there is
       inextricable tie between those, and the speech and actions undeniable. This is not the end,
       this is the beginning of us needing as a country to be focused on radicalization of mostly
       white men who we saw in the Capitol that Day… 15

           D. Statements of DC Delegate Eleanor Holmes Norton


       Delegate Eleanor Holmes Norton, non-voting Delegate from DC, said “It is appropriate

that the perpetrators of the attack compensate D.C. for the other costs D.C. incurred that day. 16”


Delegate Norton also stated:

       One year ago today, we witnessed an outrageous assault on our U.S. Capitol as Congress
       was meeting to count the electoral votes from the 2020 presidential election. The attack
       was not only an attack on democracy; it was also an attack on the District of
       Columbia. The D.C. police department, which is paid for by D.C. residents, who are
       denied voting representation in the House and Senate and full self-government, moved
       voluntarily to save the lives of members of Congress and congressional staff, the Capitol
       and democracy itself. Yet House Republicans thanked D.C. by voting against the D.C.
       statehood bill only a few months after the attack.




15
   https://www.c-span.org/video/?507965-1/congressional-black-caucus-hearing-us-capitol-
attack
16
  https://rollcall.com/2021/12/14/d-c-files-lawsuit-against-two-groups-for-costs-of-jan-6-
response/
                                                10
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         The Capitol attack focused the world on the lack of local autonomy for the residents of
         the capital of the United States. 17

             E. Reported Alleged Statements of the U.S. District Court Judges for the District of
                Columbia
         As noted in a CNN article, the chief judge of the federal court in Washington DC

emphasized the local nature of the damage 18:

         We’re still living here in Washington, DC, with the consequences of the violence that this
         defendant is alleged to have participated in,” she said. “Just outside this courthouse… are
         visible reminders of the January 6 riot and assault on the Capitol.
Chief Judge Howell is reported to say:

         They were not merely disorderly, as countless videos show the mob that attacked the
         Capitol was violent. Everyone participating in the mob contributed to that violence. 19
Chief Judge Howell may also be publicly concerned with the state of the political discussion. It

is reported that:

         Chief Judge Howell stressed that the attack on the Capitol was not “legitimate political
         discourse,” saying that it “bears repeating” since a “major political party” believed it….
         Chief Judge Howell asked if the government accepted “some responsibility” for “helping
         to foster some confusion about whether what occurred on Jan. 6 was a protest or
         legitimate political discourse” by letting defendants plead to the parading charge. 20
U.S. District Judge Thomas Hogan appears to have compared the January 6th events to a lynch

mob:




17
  https://norton.house.gov/media-center/press-releases/norton-s-january-6th-vigil-remarks-
focused-on-dc-statehood

18
   https://www.cnn.com/2021/01/28/politics/capitol-beryl-howell-richard-barnett-
pelosi/index.html
19
    ‘Almost Schizophrenic’: Judge Rips DOJ Approach to Jan. 6 Prosecutions, Politico (Oct. 28,
2021) (emphasis added), https://www.politico.com/news/2021/10/28/almost-schizophrenic-
judge-rips-doj-approach-to-jan-6-prosecutions-517442; see also Fischer et al., supra note 16.
20
     https://www.buzzfeednews.com/article/zoetillman/january6-doj-trump-rnc-plea-deals

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         During a sentencing hearing for Kenneth Reda on Wednesday, Senior U.S. District Judge
         Thomas Hogan said the psychology of the Donald Trump supporters who overran police
         and stormed the Capitol on Jan. 6 reminded him of “lynchings hundreds of years ago. 21”
Another judge made a statement at sentencing as reported speaking to the group, insurrection and

all those charged:

         “All of the people charged with offenses related to the Jan. 6 insurrection are
         serious. You attempted, along with others, to undermine one of our government’s
         bedrock acts: the peaceful transfer of power,” Judge Boasberg said. “There are
         few actions as serious as the ones this group took on this day. 22”
         It was also reported that U.S. District Court Judge Royce Lamberth was responding to

members of Congress as part of his judicial role:

         "I'm especially troubled by the accounts of some members of Congress that Jan. 6
         was just a day of tourists walking through the Capitol," U.S. District Judge Royce
         Lamberth said during a court hearing in Washington. "I don't know what planet
         these people are on."…. "The attempt by some congressmen to rewrite history and
         say this was all just tourists walking through the Capitol is just utter nonsense,"
         Lamberth said. 23

The reporting implied that Judge Lamberth was responding to the reporting of a statement of

Republican Representative Andrew Clyde who was reported to state:

         "Watching the TV footage of those who entered the Capitol and walked through
         Statuary Hall showed people in an orderly fashion staying between the stanchions
         and ropes, taking videos and pictures," Clyde said. "If you didn’t know the TV
         footage was a video from January the 6th, you would actually think it was a
         normal tourist visit." Id.

      CNN also reported on statements of U.S. District Judge Randolph Moss:

         "It means that it will be harder today than it was seven months ago for the United
         States and our diplomats to convince other nations to pursue democracy. It means
         that it will be harder for all of us to convince our children and our grandchildren
         that democracy stands as the immutable foundation of this nation. It means that
21
  https://lawandcrime.com/u-s-capitol-breach/federal-judge-compares-jan-6-riot-to-lynch-mob-
they-regret-it-afterwards-but-they-joined-in-it/
22
     https://www.courthousenews.com/ohio-based-insurrection-buds-handed-45-day-sentences/
23
  https://www.usnews.com/news/top-news/articles/2021-06-23/what-planet-are-they-on-judge-
blasts-republicans-for-downplaying-attack-on-us-capitol
                                                 12
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          we are now all fearful about the next attack in a way that we never were," Moss
          said. 24

      F. Area Democrat Senators and Representatives Contribute to the Negative Pre-trial
         Publicity

          Local Senators and Representatives—all from the Democratic Party—have made

substantial statements with claims about January 6, 2021. A public statement from Democratic

Senator Tim Kaine provides, in part:

          “One year ago, on January 6, 2021, a violent mob attempted to overturn the presidential
          election results and rob the American people of their duly elected leaders. Urged on by
          President Trump, right-wing insurrectionists stormed the U.S. Capitol aiming to commit
          the greatest voter disenfranchisement effort in recent American history. The insurrection
          led to the tragic loss of multiple heroic law enforcement officers from Virginia, and my
          heart is with their loved ones on this anniversary. 25
A public statement from Democratic Senator John Warner provides, in part:

          “One year ago today, the world watched as a violent mob stormed and desecrated the
          U.S. Capitol in an effort to rob the American people of the sacred right to elect their
          President. Despite these insidious efforts, democracy prevailed due to the brave actions of
          the Capitol Police, Metropolitan Police, Virginia State Police, Maryland State Police, and
          members of the National Guard who put themselves in peril, saving many lives and in
          some cases, losing their own. It is my hope that we will continue to honor those who lost
          their lives by remembering that democracy must be upheld each and every day. We must
          realize that what happened on January 6 did not end on January 6. Efforts to sow doubts
          about the integrity of our elections are chipping away at the values upon which our nation
          was founded. As state legislatures across the country continue to exploit Donald Trump’s
          Big Lie to restrict access to the ballot, we must act to protect the right to vote and
          safeguard our democracy once more. 26”

A public statement from Democrat Maryland Senator Ben Cardin provides, in part:
          Men and women died on that day and shortly after because of what happened at the U.S.
          Capitol. Police officers were brutally attacked. A mob went hunting through the hallways
          for Vice President Mike Pence, Speaker Nancy Pelosi and others. If we do not understand

24
     https://lite.cnn.com/en/article/h_31b637faf602c63056995f01ea19baba
25
     https://www.kaine.senate.gov/press-releases/kaine-statement-ahead-of-january-6-anniversary
26
  https://www.warner.senate.gov/public/index.cfm/pressreleases?id=B4F94BD9-0BA5-48B6-
9AF3-D5D0698197CB


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         what happened leading up to and on that day, and why it happened, it will happen
         again. 27
A public statement from Democrat Maryland Senator Chris Van Hollen provides, in part:

         “The violent mob unleashed by Donald Trump a year ago stormed and sacked this
         Capitol. Insurrectionists scaled the ramparts, tore through the barricades, and breached
         this building. They used flagpoles to beat Officer Michael Fanone and used chemical
         spray to assault Officer Brian Sicknick – who tragically died the next day. A gallows was
         built outside of this Capitol while rioters chanted, “Hang Mike Pence.” Like many others,
         I recall watching horrifying television footage of a rioter pulling down an American flag
         and raising up a Trump flag in its place. Confederate flags and banners of far-right
         extremist groups were paraded through these halls. This citadel of our democracy was
         violently attacked. The Capitol Hill community was traumatized and so was the
         country. 28
Public statement of Democrat Representative Don Beyer Representing Closest Virginia District to

DC, provides, in part:

         “One year ago today insurrectionists launched a violent assault on the home of American
         democracy.

         “The crowd that attacked the Capitol included white supremacists and violent rightwing
         paramilitary groups. They constructed a gallows, and called for the assassination of the
         Vice President and the Speaker of the House. Incited by the Big Lie of a lawless
         President bent on retaining power at any cost – a fact we know is true because the
         insurrectionists themselves repeatedly confirmed it – they hoped to halt the peaceful
         transfer of power and overturn the results of an American election. They failed.

         “They failed because of the courageous actions of heroes in uniform, many of whom
         have not fully recovered from the significant injuries they suffered that day. Some of
         them lost their lives. Today we remember the pain and suffering inflicted on those who
         defended the Capitol, and their incredible heroism. We remember USCP Officers Brian
         Sicknick and Howie Liebengood and MPD Officers Jeffrey Smith, Kyle DeFreytag, and
         Gunther Hashida, and the anguish their families still feel. 29




27
  https://www.cardin.senate.gov/letters/not-pretty-but-important/
28
     https://www.vanhollen.senate.gov/news/press-releases/van-hollen-delivers-floor-speech-on-
anniversary-of-january-6th-insurrection
29
     https://beyer.house.gov/news/documentsingle.aspx?DocumentID=5417


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A public statement of Democrat representative Abigail Spanberger representing Virginia District

Near DC, provides, in part:


         “I was barricaded in the House Chamber on January 6. I was physically there as
         insurrectionists — domestic terrorists — clawed at the doors of the U.S House of
         Representatives. Those of us stranded in the gallery were among the final Members of
         Congress to be evacuated, and we watched as U.S. Capitol Police officers bravely fended
         off a violent attack. We furiously texted loved ones, we helped colleagues process this
         moment of crisis, we heard the cries of ‘hang Mike Pence’ outside the doors, and we
         prepared to deploy gasmasks. In those moments, there is no question that we witnessed
         firsthand a violent attempt to undermine a free and fair election — not on foreign shores,
         but in the U.S. Capitol Building. 30

A public statement of Democrat Representative Anthony Brown representing a Maryland district

bordering on D.C. provides, in part:

         One year ago, our Capitol and our democracy were attacked by a violent mob of
         insurrectionists encouraged by the former president…. Republicans around the country are
         making it harder for Americans to vote and hold their elected leaders accountable. Whether
         through efforts to disenfranchise voters of color or plans to override the will of the voters
         and hold onto power, we need to call out these anti-democratic actions… The January 6th
         insurrection resulted in the deaths of at least five Americans. 31
A public statement of Democrat Representative Jamie Raskin representing Maryland district

bordering on D.C. provides, in part:

         One year ago today, we witnessed the unthinkable: an attempted coup organized by a
         president against his own vice-president and the Congress. This coup against democracy
         was surrounded and camouflaged by a violent insurrection that laid siege to the Capitol
         and that interrupted for many hours the peaceful transfer of power and which was itself
         surrounded by a savage mob riot of tens of thousands of people brought to Washington for
         a “wild” protest by a lawless lame-duck president trying desperately to hang on to the
         presidency…. The attempted coup and insurrection left 150 law enforcement officers
         injured, wounded, traumatized or dead. Anyone who denies or minimizes this



30
 https://spanberger.house.gov/posts/spanberger-statement-marking-one-year-since-january-6-
2021
31
     https://anthonybrown.house.gov/news/documentsingle.aspx?DocumentID=1622


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          unprecedented assault on law enforcement can never call himself or herself ‘pro-law
          enforcement. 32

          III.    The Government and Certain Statements of The Judiciary Have Emphasized
                  Collective Guilt, And Broad Interpretation, Rather Than Specific Individual
                  Conduct, Increasing the Problems of An Impartial Jury
          The government emphasizes the actions of others along with the mere presence of Mr.

Vo. The Affidavit of Vo attached to the charging document emphasizes:

          Members of the U.S. Capitol Police attempted to maintain order and keep the
          crowd from entering the Capitol; however, shortly around 2:00 p.m., individuals
          in the crowd forced entry into the U.S. Capitol, including by breaking windows
          and by assaulting members of the U.S. Capitol Police, as others in the crowd
          encouraged and assisted those acts. Statement of Facts paragraph 5.
          As discussed in Mr. Vo’s Motion to Dismiss, there is no specific allegation that Mr. Vo

forced entry, broke anything, assaulted police officers, encouraged or assisted those acts or

disobeyed a police officer in any way.

          Statements of the judiciary appear to ratify this collective guilt approach, let alone protect

against it. The recent opinion in United States v. Rivera, CRIMINAL ACTION 21-060 (CKK)

(D.D.C. Jun. 17, 2022) 33 is an example. The Opinion states: “[e]ven mere presence in an

unlawful mob or riot is “disorder” in the sense that it furthers the mob’s ‘disturb[ing] the public

peace’….” Opinion at 10. The Opinion further states:

          As he joined the mob, he identified with those around him…. Clearly, the evidence
          shows, beyond a reasonable doubt, that Rivera took part in a “public manifestation” in
          furtherance of “some political or other cause.” Opinion at 14.




32
  https://raskin.house.gov/2022/1/congressman-raskin-statement-on-the-one-year-anniversary-of-
the-january-6th-insurrection; https://www.nbcwashington.com/news/local/capitol-insurrection-
january-6-riot/2928050/

33
     https://casetext.com/case/united-states-v-rivera-570
                                                   16
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         Defendants, like Vo, have not been charged with a group crime such as conspiracy and

have also not been charged with Obstruction of an Official Proceeding. Comments such as the

ones demonstrated above and those publicly reported often ascribe guilt of more serious charges

by virtue of references to groups and not to specific conduct under specific simple

misdemeanors. Mr. Vo is further concerned about the use of the term “insurrection” which is an

inflammatory and prejudicial statement. Lastly, the statements of judges regarding January 6,

2021, make national news repeatedly. 34

         IV.    The Circumstances Involve A Highly Partisan Biases

         It is clear the that the basic view of the meaning of the events of January 6th at the Capitol

vary by political affiliation. A recent CBS News/YouGov poll illustrates this. 35 The party

affiliation table is this poll on what happened at the Capitol on January 6th, 2021 looks like this:


                                                     DEMS          REPS

 AN INSURRECTION                                     85%           21%

 TRYING TO OVERTHROW GOV’T                           85%           18%

 PATRIOTISM                                          12%           47%

 DEFENDING FREEDOM                                   11%           56%




34
   https://www.cnn.com/2021/12/31/politics/judges-us-capitol-comments/index.html;
https://www.lawfareblog.com/are-judges-showing-their-political-colors-jan-6-criminal-cases
35
     https://www.cbsnews.com/news/january-6-opinion-poll-2022/
                                                  17
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        In a Pew Research Center survey conducted September 13-19, 2021, 36 77% of

Republican or Lean Republican voters say that the Select Committee investigation will be “not

too” or “not at all” fair and reasonable. Contrast this to Democrats or Lean Democrat where 63%

find such House Commission will be very or somewhat fair and reasonable. The same poll had a

stark contrast regarding the statement that criminal penalties for the January 6th “rioters” were

not severe enough. Among the Democrat and Lean Democrat, combined, the figure was 71%.

But among Republican/Lean Republican the figure was 19%. A University of Massachusetts

Amherst poll released April 27, 2021 37 showed a partisan divide in how Americans describe the

participants on January 6th. According to the poll, 68% of Democrats described them as

“insurrectionists,” “white nationalists,” and “rioters.” Whereas 62% of Republicans called them

“protesters.”

        V.      A Transfer is Warranted Because the Of the Substantial Local Impact and the
                Partisan Divide in the District of Columbia Is Higher Than Any Other State

        The importance of an impartial jury is fundamental to Due Process. Notwithstanding

constitutional venue prescriptions, when prejudice makes it such that a defendant cannot obtain a

fair and impartial trial in the indicting district, the district court must transfer the proceedings upon

the defendant’s motion. Fed. R. Crim. P. 21(a); see also Skilling, 561 U.S. at 378.

        In some instances, the hostility of the venue community is so severe that it gives rise to a

presumption of juror prejudice. See Patton v. Yount, 467 U.S. 1025, 1031 (1984) (distinguishing

between presumed venire bias and actual juror bias). As recently as 2010, the Supreme Court

reaffirmed the presumption approach articulated in Patton and identified three factors to guide the


36
   https://www.pewresearch.org/fact-tank/2022/01/04/a-look-back-at-americans-reactions-to-the-
jan-6-riot-at-the-u-s-capitol/
37 https://www.umass.edu/news/article/republicans-blame-democrats-antifa-and-us


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lower courts in determining whether a presumption should attach: (1) the size and characteristics

of the jury pool; (2) the type of information included in the media coverage; and (3) the time period

between the arrest and trial, as it relates to the attenuation of the media coverage. 38 Skilling, 561

U.S. at 378.

       Where it attaches, the Court has further recognized that the presumption of prejudice

overrides juror declarations of impartiality during voir dire because such attestations may be

insufficient to protect a defendant’s rights in particularly charged cases. Murphy v. Fla., 421 U.S.

794, 802 (1975) (“Even these indicia of impartiality might be disregarded in a case where the

general atmosphere in the community or courtroom is sufficiently inflammatory.”); see also Irvin

v. Dowd, 366 U.S. 717, 728 (1961) (“No doubt each juror was sincere when he said that he would

be fair and impartial to petitioner, but psychological impact requiring such a declaration before

one’s fellows is often its father.”). Indeed, on appeal of a denial of a motion for change of venue,

an appellate court need not even examine the voir dire record if it finds that the presumption

attached. Rideau v. Louisiana, 373 U.S. 723, 726-27 (1963) (“But we do not hesitate to hold,

without pausing to examine a particularized transcript of the voir dire examination of the members

of the jury, that due process of law in this case required a [transfer].”). Thus, under this precedent,

voir dire is simply not a cure for significant and substantiated Due Process concerns about the jury

pool. Each of those concerns is pressing in this case.

       A. The Size and Characteristics of the District of Columbia Jury Pool Weigh in Favor
          of Finding a Presumption of Prejudice.



38Though not relevant to the instant motion, the Court identified a fourth factor for consideration
upon appellate review, following trial in the contested venue: (4) whether the jury convicted the
defendant on all counts or only on a subset of counts. The lack of uniformity in result after denial
of a motion to transfer venue, the Court observed, indicates that the jury was impartial and capable
of rendering a verdict on only the facts presented, rather than preconceived notions of guilt.
                                                  19
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       The foundation for the presumption of prejudice is found in Rideau. 373 U.S. at 727. In

Rideau, the first factor that the Court weighed in favor of a finding of prejudice was that about half

of the small jury pool had been exposed to prejudicial media reporting about the case. See id.

Despite the fact that voir dire revealed that only three jurors had actually seen the broadcasts at

issue, the Court found that the share of the pool that was tainted was significant enough as to render

the defendant presumptively prejudiced. See id.

       Because measuring the reach and impact of negative media reporting is difficult, in

applying Rideau, many courts have focused on population size and diversity as a proxy for the

share of the population that was likely impacted. For example, in Skilling, the Court observed that

while the number of Enron victims in Houston was higher than that of other crimes, it was far from

universal, and because Houston is the fourth-largest city in the United States, and is highly diverse,

a significant number of prospective jurors would have had no connection to Enron whatsoever.

Skilling, 561 U.S. at 358 (“[E]xtensive screening questionnaire and followup [sic] voir dire yielded

jurors whose links to Enron were either nonexistent or attenuated.”).

       In contrast to Houston, the District of Columbia is one of the smaller major US cities, with

a population under 700,000. 39 And the impact of the events of January 6 on the residents of the

District of Columbia were far more widespread than that of Enron in Houston, affecting a far

greater share of residents than the conduct at issue in Skilling.

       First, as the Court is no doubt aware, a huge proportion of District of Columbia residents

either work for the federal government themselves or have friends or family who do. Specifically,


39See 2020 Census Data Shows DC’s Population Growth Nearly Tripled Compared to Previous
Decade, DC.gov (Apr. 26, 2021) (DC population recorded by census as
689,545),https://dc.gov/release/2020-census-data-shows-dcs-population-growth-nearly-tripled-
compared-previous-decade.
                                                 20
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as of September 2017, the U.S. Office of Personnel Management reported that there are 600,000

federal civil workers and annuitants in the greater DC area (excluding postal workers, federal

bureau of investigation workers, and staff on several federal commissions). 40 Nearly 200,000 of

those workers and annuitants are within the District itself. Id. With a total population of around

690,000, it seems clear that any given member of the District jury pool has a greater likelihood of

being closely connected to the federal government than those in comparable metro areas. In fact,

as of 2019, according to the DC Policy Center, active federal employment (including postal

workers) accounts for nearly a third of all jobs in the District itself.41 And of course, for each

federal worker, there are many friends and family members who are closely connected to the

federal government by proxy.

       In particular, nearly 15,000 individuals work for Congress directly, and many more

residents have friends and family who do. 42 Another large share are in, or have friends and family

in, the many law enforcement groups who took part in responding to January 6. 43 This means that


40   Federal Civilian Employment, OPM (Sept. 2017), https://www.opm.gov/policy-data-
oversight/data-analysis-documentation/federal-employment-reports/reports-publications/federal-
civilian-employment/.
41
   Trends in Federal Employment in DC, DC Policy Center (Mar. 28, 2019),
https://www.dcpolicycenter.org/wp-content/uploads/3019/03/Fed-jobs-role-in-DC-economy.png.
42
   Vital Statistics on Congress, Brookings Institute (July 11, 2013),
https://www.brookings.edu/wp-content/uploads/2016/06/Vital-Statistics-Chapter-5-
Congressional-Staff-and-Operating-Expenses_UPDATE.pdf.
43
   As reported in the Human Capital Strategic Plan, as of early 2021, 2,250 individuals were
employed by the U.S. Capitol Police Force. Human Capital Strategic Plan 2021-
2025,U.S.Capitol Police (2020),
https://www.uscp.gov/sites/uscapitolpolice.house.gov/files/wysiwyg_uploaded/USCP%20Huma
n%20Capital%20Strategic%20Plan%20for%202021-2025.pdf. 4,400 individuals are employed
by the Metropolitan Police Force, and 2,700 individuals are active members of the D.C. National
Guard. See Metropolitan Police Force Annual Report 2020, DC.gov (2020),
https://mpdc.dc.gov/sites/default/files/dc/sites/mpdc/publication/attachments/AR2020_lowres_a.
pdf ; see also About Us, DC National Guard (2020), https://dc.ng.mil/About-Us/. More than 140
officers were allegedly injured from the events of January 6. See Michael Schmidt, Officers’
Injuries, Including Concussions, Show Scope of Violence at Capitol Riot, N.Y. Times (July 12,
                                                21
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an enormous share of District of Columbia residents have significant and unique connections with

individuals or institutions that were affected by January 6. Such connections are not likely to be

present in any other comparable district. The government has characterized the events of January

6 – including the charges in which the government alleges Mr. Vo participated – as an attack on

our elections, government institutions generally, and democracy as a whole, suggest that those

District residents closely connected to the government are more likely to view themselves as the

direct victims of the events.

       Second, even District residents that have no direct connection to the government reported

feeling deeply traumatized by the events that took place so close to where they live and work. For

example, one DC resident shared in an interview that:

       I have not been able to digest any of the atrocities that took place last night
       here in Washington, D.C., you know, literally eight blocks away from my
       front door[.] I’ve been having a lot of conversations with people this
       morning, loved ones. We’re all hurting. We’re terrified. We’re in shock.
       And I think it's going to take a while. This is by far the darkest moment of
       my 45-year existence. 44

Such accounts are typical of those gathered in interviews in the days following January 6, during

which the Mayor declared a state of emergency, implemented a city-wide curfew, restricted access




2021), https://www.nytimes.com/2021/02/11/us/politics/capitol-riot-police-officer-injuries.html.
And while not all individuals employed by these agencies reported to the Capitol on January 6,
all 9,350 individuals were directly and adversely affected by the January 6 events in the form of
increased presence and overtime demands in the weeks that followed, greatly affecting morale.
Indeed, as reported by local media, more than 75 officers left the Capitol Police force in the few
months following January 6. More Than 75 Capitol Police Officers Have Quit Amid Low
Morale Since Jan. 6, The Hill (July 7, 2021), https://thehill.com/policy/national-security/561832-
more-than-75-capitol-police-officers-have-quit-amid-low-morale-since.
44
   D.C. Resident Who Gave BLM Protesters Refuge Condemns 'Atrocities' at U.S. Capitol, CBC
(Jan. 7, 2021), https://www.cbc.ca/radio/asithappens/as-it-happens-thursday-edition-1.5864816/d-
c-resident-who-gave-blm-protesters-refuge-condemns-atrocities-at-u-s-capitol-1.5864894.
                                                22
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to particular roads and bridges, and requested that residents not attend inauguration. 45 District

neighborhoods became occupied by the Metropolitan Police and over 25,000 military personnel in

the weeks that followed. 46 Indeed, a local subsidiary of the national public broadcasting network,

DCist, reported that:

       Residents have rescheduled medical appointments or switched up their bike
       and run routes to steer clear of downtown D.C. or the Capitol complex.
       Others say they are avoiding speaking Spanish in public or buying items
       like baseball bats for personal protection. Some are making plans to leave
       the city for inauguration. And many have feelings of anger, sadness, and
       heightened anticipation for the near future. […] Some residents are also
       worried that a stepped up military and police presence in the city may only
       add to their unease. 47
       Moreover, as the Court is no doubt aware, the effects of these events continue to be felt in

the District. Indeed, District residents reacted with fear in anticipation of protests planned for

September of 2021 that were intended to show support for individuals detained in connection with

prosecutions arising from the events of January 6. For example, the New York Times ran a piece

titled “Washington, D.C. On Edge Over January 6 Protests,” 48 and the Associated Press similarly




45
   Mayor Bowser Orders Citywide Curfew Beginning at 6PM Today, DC.gov (Jan. 6, 2021),
https://mayor.dc.gov/release/mayor-bowser-orders-citywide-curfew-beginning-6pm-
today;Mayor Bowser Issues Mayor’s Order Extending Today’s Public Emergency for 15 Days,
DC.gov (Jan 6, 2021), https://mayor.dc.gov/release/mayor-bowser-issues-mayor%E2%80%99s-
order-extending-today%E2%80%99s-public-emergency-15-days-a1; Jane Recker, DC Mayor
Says Americans Should Not Come to Washington for the Inauguration, Washingtonian (Jan. 11,
2021) (noting the many street closures),https://www.washingtonian.com/2021/01/11/dc-mayor-
says-americans-should-not-come-to-washington-for-the-inauguration/.
46
   Ellen Mitchell, Army: Up to 25,000 National Guard in DC for Biden Inauguration, The Hill
(Jan. 15, 2021),https://thehill.com/policy/defense/534497-army-up-to-25000-national-guard-in-
dc-for-biden-inauguration.
47
    Jenny Gathright and Rachel Kurzius, What It Feels Like to Live Under D.C.’s State of
Emergency, DCist (Jan. 13, 2021), https://dcist.com/story/21/01/13/dc-state-of-emergency-
residents/.
48
   Jonathan Weisman and Matthew Rosenberg, Washington, D.C., on Edge Over Protest of Jan.
6 Arrests, N.Y. Times (Sept. 18, 2021), https://www.nytimes.com/2021/09/18/us/politics/capitol-
sept-18-rally.html.
                                                23
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reported “In Edgy Washington, Police Outnumber Jan 6 Protestors,” capturing the District’s

overall tenor and response to these ongoing demonstrations. 49

       Third, an overwhelming number of District of Columbia residents — over 92 percent —

voted for President Biden. 50 According to the government’s theory of the case, Mr. Vo and the

others charged in connection with January 6 did what they did in order to prevent Joseph Biden

from becoming President notwithstanding his share of the electoral and popular vote. 51 That is, the

government’s theory is that Mr. Vo and others were seeking to nullify the votes of an

overwhelming majority of District residents 52 – in the only national election in which District

residents have any say, given their lack of representation in Congress. See, e.g., Castanon v. United

States, 444 F. Supp. 3d 118, 139 (D.D.C. 2020) (“Article I contemplates that only ‘residents of

actual states’ have and may exercise the House franchise”) (citing Adams v. Clinton, 90 F. Supp.

2d 35, 47 (D.D.C.), aff’d sub nom. Alexander v. Mineta, 531 U.S. 940 (2000)), reconsideration

denied, No. CV 18-2545, 2020 WL 5569943 (D.D.C. Sept. 16, 2020), aff’d, No. 20-1279, 2021

WL 4507556 (U.S. Oct. 4, 2021). Finally, the government, the media, and even judges in this

district speak of these prosecutions as designed to prevent “another January 6,” and District of

Columbia residents know that a repeat of January 6 can only take place in their home. 53 As such,


49 Associated Press, In Edgy Washington, Police Outnumber Jan. 6 Protesters, US News (Sept.

18, 2021),https://www.usnews.com/news/politics/articles/2021-09-18/police-say-theyre-ready-
for-rally-supporting-jan-6-rioters.
50
    General Election 2020: Certified Results, DC Board of Elections (Dec. 2, 2020),
https://electionresults.dcboe.org/election_results/2020-General-Election.
51
   See, e.g., Gov’t Mem., ECF No. 19 at 13 (characterizing the events as an attempt to occupy the
Capitol in order to prevent the certification of the Electoral College results).
52
   See id.
53
   See, e.g., Zachary B. Wolf, These Republicans Are Worried About Trump's Attempted Coup
2.0, CNN (Nov. 5, 2021) https://www.cnn.com/2021/11/05/politics/january-6-insurrection-
trump-documentary-what-matters/index.html; see also Jordan Fischer et. al, Judge Skewers DOJ
At January 6 Sentencing, WUSA9 (Oct. 28, 2021) (explaining that the sentence was designed to
alert “others who might consider attacking the Capitol to know their punishment would
                                                 24
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the residents of the District sitting as jurors are highly likely to view Mr. Vo not only as someone

who victimized them, but also as someone who might victimize them again in the future, raising a

concern about punishing for propensity.

        Given the electoral makeup of the District, it would be impossible to empanel a jury that

was not full of people that the government charges were the targets of Mr. Vo’s alleged offenses.

Cf. Mu’Min v. Virginia, 500 U.S. 415, 429 (1991) (the population of the greater metro area,

including Virginia and Maryland, was large enough to not support an inference of prejudice by

media reporting). Thus, though significantly more populous than the pool in Rideau, for example,

Mr. Vo submits that the impact of the events of January 6 was felt by a far greater proportion of

the residents and felt much more personally and viscerally. The events of January left those

residents—and therefore the jury pool—neither impartial nor indifferent.

        B. The Nature and Volume of National and Local Media Coverage Weigh in Favor of
           Finding That There is a Presumption of Prejudice because of Greater Saturation
           and Impact at the Local Level
        Where pervasive pretrial publicity has “inflamed passions in the host community” and

“permeat[es] the trial setting . . . [such] that a defendant cannot possibly receive an impartial trial,”

the district court must presume local prejudice and transfer the proceeding. United States v. Quiles-

Olivo, 684 F.3d 177, 182 (1st Cir. 2012); see also Sheppard v. Maxwell, 384 U.S. 333, 362 (1966)

(“Due [P]rocess requires that the accused receive a trial by an impartial jury free from outside

influences.”). This is especially true where publicity is both extensive and sensational in nature.

Quiles-Olivo, 684 F.3d at 182. That said, observing that “prominence does not necessarily produce

prejudice, and juror impartiality does not require ignorance,” the Supreme Court has repeatedly


‘hurt.’”), https://www.wusa9.com/article/news/national/capitol-riots/resolving-the-crime-of-the-
century-with-misdemeanors-judge-skewers-doj-at-january-6-sentencing-beryl-howell-jack-
griffith-anna-morgan-lloyd/65-352274e8-7279-4792-a878-cf4cb0cc20ae.
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rejected claims of prejudice that rely exclusively on negative but dispassionate media reporting.

Skilling, 561 U.S. at 358 (citing Irvin, 366 U.S. at 722). Something more, such as charged rhetoric

or the reporting of gruesome details, is needed to establish prejudice. See id. (rejecting the

argument that media coverage was prejudicial where “media coverage, on the whole, had been

objective and unemotional, and the facts of the case were neither heinous nor sensational.”). The

Court has repeatedly recognized that “something more” exists when the media coverage is

particularly inflammatory, and where it pervades the court proceedings. See Murphy, 421 U.S. at

799 (1975) (“In those cases the influence of the news media, either in the community at large or

in the courtroom itself, pervaded the proceedings”); see also id. (“[P]roceedings in these cases

were entirely lacking in the solemnity and sobriety to which a defendant is entitled”). Finally, the

problematic media must either be local in distribution, or must have greater local saturation or

impact than in other districts; otherwise, there is no disparate prejudicial effect between different

(comparable) venues.

       For example, in Skilling, the defendant cited to hundreds of media reports about the Enron

scandal in his motion for a transfer of venue. 561 U.S. at 358. He argued that as the former Chief

Executive Officer, such articles necessarily implicated him by proxy, if not directly. See id. The

Court disagreed, referencing its earlier opinions concerning the modern ubiquity of news media,

and reiterating its former conclusion that volume does not, on its own, create prejudice. See id. at

382. Rather, it is sensationalism of the type that would be easily remembered—not an objective

reporting of the facts—that was found to be prejudicial in prior cases before the Court. 54 Id. at 381.



54 Of course, as the concurrence in part pointed out, voir dire later revealed that these “objective”

media reports had indeed created a bias among many potential jurors, and that the District Court
failed to properly vet their assurances of impartiality after those biases were revealed. See id. at
427 (Sotomayor, J., concurring in part).
                                                  26
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The Court observed that the stories that Skilling cited about Enron contained “no confessions, no

blatantly prejudicial information,” and were “largely objective and unemotional.” Id. at 370-71,

382 (observing that none of the reports “invited prejudgment of his culpability”). As such, the

Court held that it was inappropriate to apply a broad presumption of prejudice.

       Here, in a city still feeling the impacts described supra, the pre-trial publicity—both

national and local–has only served to enhance and sustain the effects and by extension, sentiments

about the participants. The volume, depth of coverage, and duration of the reporting about January

6 has been almost entirely unprecedented, perhaps only comparable to the reporting following

September 11. 55 And viewers who identified as Democrats—like most of the District population—

were 20% more likely to have reported hearing “a lot” about the events than those who identify as

Republicans. 56 It has also been sensational, including the repeated showing of select snippets of

photographic and video footage appearing to show the destruction of the Capitol property and

officers in distress. Indeed, some of these officers have testified before Congress about their

experiences that may or may not have been representative of the whole—testimony that was also

widely circulated in print and through video. 57

       The language used in media coverage of the events of January 6 and of the defendants

involved in those events has been especially charged and inflammatory. Reporters and their




55
   “Nearly seven-in-ten adults (69%) say they have heard ‘a lot’ about the rioting at the U.S.
Capitol on Jan. 6.” Views on the Rioting at the US Capitol, Pew Research Center (Jan. 15, 2021),
https://www.pewresearch.org/politics/2021/01/15/views-on-the-rioting-at-the-u-s-capitol/ ;
compare with The War On Terrorism, Pew Research Center (May 23, 2002),
https://www.pewresearch.org/journalism/2002/05/23/the-war-on-terrorism/.
56
   See id.
57
   See, e.g., Police Officers Deliver Emotional Testimony About Violent Day at the Capitol,
Washington Post (July 27, 2021), https://www.washingtonpost.com/politics/2021/07/27/jan-6-
commission-hearing-live-updates/.
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interviewees, including members of Congress, consistently refer to the defendants as

“insurrectionists,” “rioters,” “seditionists,” “domestic terrorists” “white supremacists” and

“criminals” in the media. The coverage has also been sensationalist, relying on gruesome details

in click-bait headlines to galvanize the public. This is hardly comparable to the “unemotional”

reporting on Enron’s collapse and the white collar crime allegations against its management as

described by the Court in Skilling. 561 U.S. at 371-72, 382.

        Additionally, much of the early reporting has since been shown to be factually inaccurate.

For example, immediately following the events of January 6, President Biden, among other high-

profile individuals, claimed that January 6 protestors killed Officer Brian Sicknick, and he repeated

the claim months after it became clear that there was no basis for it. 58 Even the official press release

stated that:

                Officer Brian D. Sicknick passed away due to injuries sustained
                while on-duty. Officer Sicknick was responding to the riots on
                Wednesday, January 6, 2021, at the U.S. Capitol and was injured
                while physically engaging with protesters. 59
These claims were widely circulated and did reputational damage to defendants before the medical

examiner quietly reported—more than four months later—that Officer Sicknick died of two

strokes, and that he sustained no internal or external injuries from his exposure to chemical spray

on January 6. 60



58
   Christian Datoc and Jerry Dunleavy, Biden Claims Jan. 6 Rioters Killed Capitol Police Officer
Brian Sicknick, Washington Examiner (June 17, 2021), available at
https://www.yahoo.com/now/biden-claims-jan-6-rioters-161300824.html.
59 Press Release: Loss of USCP Officer Brian Sicknick, United States Capitol Police (Jan. 7,

2021) (emphasis added), https://www.uscp.gov/media-center/press-releases/loss-uscp-colleague-
brian-d-sicknick.
60
   Capitol Police Officer Died of Natural Causes, Officials Say, Washington Post (Apr. 19,
2021), https://www.washingtonpost.com/local/public-safety/brian-sicknick-death-
strokes/2021/04/19/36d2d310-617e-11eb-afbe-9a11a127d146_story.html.
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          The saturation of this charged and inflammatory reporting in the District is so substantial

that it would be surprising to identify any potential jurors who have not been exposed to the

coverage. One only need look to the Washington Post comments section to observe the

inflammatory attitudes of its readers who convict defendants who are still pending trial. 61 And

although some in the jury pool may not have heard of Mr. Vo specifically, his presence at the

Capitol that day will necessarily cause prospective jurors to link his conduct to the January 6

reporting generally. And as the Court found in Rideau, “[a]ny subsequent court proceedings in a

community so pervasively exposed to such a spectacle could be but a hollow formality.” 373 U.S.

at 726.

          There is no doubt that more than only District residents were exposed to these comments,

which were in effect legal conclusions about every January 6 defendant who will go before a jury

in this District. However, while the media coverage of these comments, among others, may not

create disparate prejudice between the District jury pool and other jury pools by nature of its

national broadcast, it does create disparate prejudice at the venue itself: because the comments

were made by members of the same community and of the same court that is expected to provide

instructions on burdens of proof and the presumption of innocence.

          C. The Timing of the Proceedings Weighs in Favor of Finding a Presumption of
             Prejudice

          Finally, in determining whether any prior prejudice has been mitigated by the passage of

time, the Supreme Court has considered the years between the exposure of the offense conduct

and the trial. For example, in Skilling, the Court found that because more than four years had




 See Ralph Joseph Celentano III, accused Capitol rioter, charged with pushing officer over ledge - The
61

Washington Post

                                                  29
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passed between the Enron scandal and the defendant’s trial, “the decibel level of media attention

diminished somewhat in the years following Enron’s collapse,” and any exposure to the early

reporting would have become attenuated. Skilling, 561 U.S. at 383.

       Here, in the 17 months since January 6, 2021, media reporting about the events of January

6 remains at an all-time high. This has been especially true in recent weeks, given the high-profile

House Select Committee activities focused on investigating the events. In the last two months

alone, new in-depth articles and video analyses about January 6 have appeared in the Washington

Post, New York Times, CNN, Vanity Fair, Rolling Stone, and NPR, among many others. 62

Additionally, many documentaries that include extensive footage of the day have been released—

footage that would likely be offered into evidence by the prosecution at trial. For example, HBO

recently released a feature-length Four Hours at the Capitol in late October, which includes one

of the most widely-circulated videos from that day: the breaking of a Capitol window. 63 There is




62
   Dan Berman, The Latest in the Jan. 6 Investigation, CNN (Nov. 28, 2021),
https://www.cnn.com/2021/11/28/politics/january-6-investigation/index.html; see also Inside the
Capitol Riot: An Exclusive Video Investigation, N.Y. Times (Nov. 10, 2021),
https://www.nytimes.com/2021/06/30/us/jan-6-capitol-attack-takeaways.html; see also
Jacqueline Alemany et al., The Attack, Washington Post (Sept. 26, 2021),
https://www.washingtonpost.com/politics/interactive/2021/jan-6-insurrection-capitol/; see also
Hunter Walker, The ‘JusticeForJ6’ Rally Wasn’t a Joke — It Was A Warning: support for the
Capitol insurrectionists has taken root firmly inside the GOP, Rolling Stone (Sept. 18, 2021),
https://www.rollingstone.com/politics/politics-features/justiceforj6-rally-insurrection-capitol-
trump-1228690/; see also Bess Levin, January 6 Organizers Threw Back Champagne and
Charcuterie as the Capitol Was Attacked, Vanity Fair (Nov. 22, 2021),
https://www.vanityfair.com/news/2021/11/january-6-organizers-text-messages-champagne-
charcuterie.
63
   Four Hours at the Capitol, HBO (Oct. 4, 2021); see also Day of Rage: How Trump Supporters
Took     the    U.S.     Capitol    at     18:17-21,     N.Y.    Times       (June    30,    2021),
https://www.nytimes.com/video/us/politics/100000007606996/capitol-riot-trump-
supporters.html.
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no reason to think that coverage will wane before Mr. Vo’s November trial, especially given the

recent activities of the Select Committee. 64

       Interest in the events of January 6 has been high since that day, and it has not waned in the

District in the short time since. As such, the timing of the proceedings weighs in favor of a finding

of presumed prejudice.

                                          CONCLUSION

       Because each of the Skilling factors weighs in favor of finding a presumption of prejudice,

and because the Sixth and Fifth Amendment demand a unique analysis of the problems in the

instant case, Mr. Vo requests that transfer venue and, in the alternative, provide relief as described

in the motion.

June 29, 2022.
                                                      A. J. Kramer
                                                      Federal Public Defender for the
                                                      District of Columbia

                                                      By: /s/ Maria Jacob
                                                      Assistant Federal Public Defender
                                                      625 Indiana Avenue Suite 550
                                                      Washington D.C.
                                                      Telephone: (202) 208-7500

                                                      Nandan Kenkeremath
                                                      DC Bar 384732

64
   Although the official schedule of the Select Committee has been clear for some time, the
Committee members are active in their investigation, having recently issued several subpoenas
and moved to enforce subpoenas that were ignored. See, e.g., Zachary Cohen et al., New January
6 Committee Subpoenas Issued for 5 Trump Allies Including Roger Stone and Alex Jones, CNN
(Nov. 22, 2021), https://www.cnn.com/2021/11/22/politics/roger-stone-alex-jones-subpoenas-
january-6/index.html; see also Jan. 6 Committee Prepares to Hold Former Trump DOJ Official
in Criminal Contempt, Washington Post (Nov. 30, 2021),
https://www.washingtonpost.com/politics/clark-contempt-january-6/2021/11/29/17b009aa-514f-
11ec-8927-c396fa861a71_story.html; see also Charlie Savage, Appeals Court Questions
Trump’s Bid for Secrecy on Jan. 6 Papers, N.Y. Times (Nov. 30, 2021),
https://www.nytimes.com/2021/11/30/us/politics/trump-executive-privilege-capitol-riot.html.
                                                 31
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